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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                         NORTHERN DIVISION


TONYA NEWBERRY                                                  PLAINTIFF


VS.                              CASE NO. 3:19CV00192 PSH


ANDREW SAUL, Commissioner,
    Social Security Administration                             DEFENDANT


                                   JUDGMENT

       Pursuant to the Order filed in this matter this date, this case is dismissed with

prejudice.

       IT IS SO ORDERED this 6th day of May, 2020.



                                         UNITED STATES MAGISTRATE JUDGE
